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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF OHIO
                              EASTERN DIVISION

UNITED STATES OF AMERICA

      vs.                                  Criminal Action 2:19-cr-211
                                           CHIEF JUDGE MARBLEY
DANIEL L. RIPPY


                         REPORT AND RECOMMENDATION

      Defendant Daniel L. Rippy previously pleaded not guilty to an
Indictment charging him with transmitting an electronic threat in
interstate commerce in violation of 18 U.S.C. § 875(c). Indictment,
ECF No. 3. The United States and defendant thereafter entered into a
plea agreement, executed pursuant to the provisions of Rule
11(c)(1)(B) of the Federal Rules of Criminal Procedure, whereby
defendant agreed to enter a plea of guilty to that charge.1          On July 1,
2020, defendant, accompanied by his counsel, participated in a change
of plea proceeding.
      After being advised of his right to appear personally and with
his counsel and after consulting with his counsel, defendant also
consented to appear by videoconference.
      Defendant consented, pursuant to 28 U.S.C. §636(b)(3), to enter a
guilty plea before a Magistrate Judge.       See United States v. Cukaj, 25
Fed. Appx. 290, 291(6th Cir. 2001)(Magistrate Judge may accept a guilty
plea with the express consent of the defendant and where no objection
to the report and recommendation is filed).
      During the plea proceeding, the undersigned observed the
appearance and responsiveness of defendant in answering questions.

      1 The Plea Agreement, ECF No. 15, includes an appellate waiver provision
that preserves only certain claims for appeal or collateral challenge. The
Plea Agreement also includes a reference to possible immigration consequences
of the guilty plea. However, defendant testified that he was born in the
United States.

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Based on that observation, the undersigned is satisfied that, at the
time he entered his guilty plea, defendant was in full possession of
his faculties, was not suffering from any apparent physical or mental
illness and was not under the influence of narcotics, other drugs, or
alcohol.
        Prior to accepting defendant’s plea, the undersigned addressed
defendant personally and in open court and determined his competence
to plead.    Based on the observations of the undersigned, defendant
understands the nature and meaning of the charge in the Indictment and
the consequences of his plea of guilty to Count.         Defendant was also
addressed personally and in open court and advised of each of the
rights referred to in Rule 11 of the Federal Rules of Criminal
Procedure.
        Having engaged in the colloquy required by Rule 11, the Court
concludes that defendant’s plea is voluntary.        Defendant acknowledged
that the plea agreement signed by him, his attorney and the attorney
for the United States and filed on May 5, 2020, represents the only
promises made by anyone regarding the charge in the Indictment.
Defendant was advised that the District Judge may accept or reject the
plea agreement and that, even if the Court refuses to accept any
provision of the plea agreement not binding on the Court, defendant
may nevertheless not withdraw his guilty plea.
        Defendant confirmed the accuracy of the statement of facts
supporting the charges, which is attached to the Plea Agreement.            He
confirmed that he is pleading guilty to Count 1 of the Indictment
because he is in fact guilty of that offense.        The Court concludes
that there is a factual basis for the plea.
        The Court concludes that defendant’s plea of guilty to Count 1 of
the Indictment is knowingly and voluntarily made with understanding of
the nature and meaning of the charge and of the consequences of the
plea.
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     It is therefore RECOMMENDED that defendant’s guilty plea to Count
1 of the Indictment be accepted.      Decision on acceptance or rejection
of the plea agreement was deferred for consideration by the District
Judge after the preparation of a presentence investigation report.
     In accordance with S.D. Ohio Crim. R. 32.1, and as expressly
agreed to by defendant through counsel, a written presentence
investigation report will be prepared by the United States Probation
Office.    Defendant will be asked to provide information; defendant’s
attorney may be present if defendant so wishes.         Objections to the
presentence report must be made in accordance with the rules of this
Court.
     If any party seeks review by the District Judge of this Report
and Recommendation, that party may, within fourteen (14) days, file
and serve on all parties objections to the Report and Recommendation,
specifically designating this Report and Recommendation, and the part
thereof in question, as well as the basis for objection thereto.            28
U.S.C. §636(b)(1); F.R. Civ. P. 72(b).       Response to objections must be
filed within fourteen (14) days after being served with a copy
thereof.   F.R. Civ. P. 72(b).
     The parties are specifically advised that failure to object to
the Report and Recommendation will result in a waiver of the right to
de novo review by the District Judge and of the right to appeal the
decision of the District Court adopting the Report and Recommendation.
See United States v. Wandahsega, 924 F.3d 868, 878 (6th Cir. 2019);
Thomas v. Arn, 474 U.S. 140 (1985).




July 1, 2020                                    s/ Norah McCann King
 Date                                            Norah McCann King
                                           United States Magistrate Judge




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